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10                                    UNITED STATES DISTRICT COURT

11                                 NORTHERN DISTRICT OF CALIFORNIA

12                                        SAN FRANCISCO DIVISION

13   UNITED STATES OF AMERICA,                        )   CASE NO. CR 19-700-RS-1
                                                      )
14           Plaintiff,                               )   STIPULATION TO VACATE CHANGE OF PLEA
                                                      )   HEARING AND EXCLUDE TIME UNDER THE
15      v.                                            )   SPEEDY TRIAL ACT; ORDER
                                                      )
16   FROYLAN SANCHEZ,                                 )
        a/k/a Froylan Azhea Martinez-Sanchez,         )
17      a/k/a Daniel Sanchez Bustos,                  )
                                                      )
18           Defendant.                               )
                                                      )
19

20           On August 25, 2020, government counsel and Chief Assistant Federal Public Defender Candis
21 Mitchell appeared telephonically before the Court for a status conference. Ms. Mitchell advised the

22 Court that her client, Froylan Sanchez, agreed to waive his appearance for the August 25 status

23 conference. At that time, the parties 1 agreed—and the Court ordered—to continue the matter to

24 September 22, 2020 for a change of plea hearing. In anticipation of the proposed resolution, the parties

25 did not seek an exclusion of time as to Froylan Sanchez.

26           Since the August 25, 2020 status conference, the parties have continued in their negotiations of a
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             1
28           For purposes of this stipulation and [proposed] order, the “parties” refers to the government and
     defendant Froylan Sanchez, and is not intended to also reference co-defendant Jose Ivan Sanchez.
     STIPULATION AND ORDER CR 19-700-                 1
     RS-1
               Case 3:19-cr-00700-RS Document 54 Filed 09/18/20 Page 2 of 3




 1 potential resolution. Unfortunately, the parties have been unable to finalize certain terms of a plea

 2 agreement to submit for the Court’s review. At this point, the parties jointly seek additional time to

 3 review the discovery in this case, and to continue their negotiations of a proposed resolution.

 4          In light of these considerations, the parties hereby stipulate and respectfully request that the

 5 Court order that the change of plea hearing currently scheduled for September 22, 2020 at 2:00 p.m. be

 6 vacated, and that Court schedule this matter for a status conference on November 3, 2020 at 2:30 p.m.

 7 Additionally, the parties stipulate and respectfully request that the time between August 25, 2020 and

 8 November 3, 2020 be excluded under the Speedy Trial Act pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and

 9 (h)(7)(B), nunc pro tunc. The parties stipulate and agree that this exclusion of time will permit counsel

10 the reasonable time necessary for effective preparation, taking into account the exercise of due diligence,

11 and that the ends of justice served by this exclusion of time outweigh the best interests of the public and

12 the defendant in a speedy trial. 18 U.S.C. § 3161(h)(7)(A), (B)(iv).

13

14          IT IS SO STIPULATED.

15

16 DATED: September 18, 2020                               DAVID L. ANDERSON
                                                           United States Attorney
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18                                                           /s/
                                                           SLOAN HEFFRON
19                                                         Assistant United States Attorney
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21
                                                             /s/
22                                                         CANDIS MITCHELL
                                                           Counsel for Defendant Froylan Sanchez
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     STIPULATION AND [PROPOSED] ORDER                 2
     CR 19-700-RS-1
               Case 3:19-cr-00700-RS Document 54 Filed 09/18/20 Page 3 of 3




 1                                           ORDER

 2          Based upon the representations set forth in the stipulation of the parties and for good cause

 3 shown, the Court finds that failing to exclude the time between August 25, 2020 and November 3, 2020

 4 would deny defense counsel the reasonable time necessary for effective preparation, taking into account

 5 the exercise of due diligence. 18 U.S.C. § 3161(h)(7)(B)(iv). The Court further finds that the ends of

 6 justice served by excluding the time between August 25, 2020 and November 3, 2020 from computation

 7 under the Speedy Trial Act outweigh the best interests of the public and the defendant in a speedy trial.

 8 See 18 U.S.C. § 3161(h)(7)(A).

 9          Accordingly, IT IS HEREBY ORDERED that the time from August 25, 2020 through November

10 3, 2020 shall be excluded from computation under the Speedy Trial Act, nunc pro tunc. 18 U.S.C. §

11 3161(h)(7)(A), (B)(iv). IT IS FURTHER ORDERED that the change of plea hearing in the above-

12 captioned matter now set for September 22, 2020 be vacated. The Court sets this matter for November

13 3, 2020 at 2:30 p.m. for a status conference.

14

15          IT IS SO ORDERED.

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17
            September 18, 2020
18 DATED: __________________________                             ________________________________
                                                                 THE HONORABLE RICHARD SEEBORG
19                                                               United States District Judge
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     STIPULATION AND [PROPOSED] ORDER                3
     CR 19-700-RS-1
